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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
            v.                      )                Case No. 1:20-cr-165-JEB
                                    )
KEVIN CLINESMITH,                   )
                                    )
____________________________________)

                                      NOTICE

      In response to the Court’s Minute Order of December 17, 2020, Carter W.

Page (Dr. Page), by and through counsel, respectfully notifies the Court that he does

not oppose the Third Party Motion to File Amicus Brief, filed at Dkt # 28.

      It is established that the Court may permit, or even invite, the filing of

amicus briefs in criminal cases in appropriate situations. See In re Flynn, 973 F.3d.

74, 81 (D.C. Cir. 2020) (en banc).

      In this case, the proposed amici are nationally recognized victims’ rights

advocacy groups and counsel, who first learned of this case when Dr. Page’s Crime

Victims’ Rights Act (“CVRA”) motion [Dkt # 23-2] came to their attention. The

Court will benefit from the informed views of these proposed amici on the issue

raised in Dr. Page’s motion. There is no unfair prejudice to the Government or the

Defendant from permitting national victims’ rights organizations to offer amici

assistance to the Court regarding the application of the CVRA.

      Defense counsel opposes the filing of the amicus brief, arguing that it raises a

new issue beyond the claim in Dr. Page’s motion. That argument is incorrect.
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      The amicus brief squarely addresses only the issue raised by Dr. Page in his

motion – that he is a victim under the CVRA and entitled to the rights therein. The

proposed amicus brief does not address any other issue presented to the Court in

this criminal (sentencing) matter. Presenting differing or complementary analysis

to the Court on an issue does not constitute “raising a new issue.” Indeed, it is

precisely the role of amici to present third party perspective and analysis to assist

the Court in addressing the issue before it.

Dated: December 21, 2020                Respectfully Submitted,



                                        ________/s/_________________________
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                           CERTIFICATE OF SERVICE

      I hereby certify that, on December 21, 2020, a copy of the foregoing Notice

was served electronically through the ECF on:

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                                      ______________/s/___________________
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